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 1   BENJAMIN B. WAGNER
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     Assistant U.S. Attorney
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 4   Telephone: (916) 554-2918
 5
 6
 7
 8                 IN THE UNITED STATES DISTRICT COURT FOR THE
 9                         EASTERN DISTRICT OF CALIFORNIA
10
11   UNITED STATES OF AMERICA,            )
                                          )   CR. S-08-065 LKK
12                Plaintiff,              )
                                          )   STIPULATION AND ORDER
13                                        )   CONTINUING STATUS CONFERENCE
                                          )
14           v.                           )
                                          )
15   TANEKA RAENEE NUNLEY,                )
                                          )
16                Defendant.              )
                                          )
17
18
             This matter is set for a status conference on March 13,
19
     2012, at 9:15 a.m.       Plaintiff United States of America and
20
     defendant Taneka Nunley, through her counsel, Attorney Dan
21
     Koukol, request the status conference be continued to March 27,
22
     2012.
23
             The request is made on the ground that defense counsel needs
24
     time to research and review matters related to a proposed Plea
25
     Agreement provided by the government.          The parties therefore
26
     request exclusion of time under the Speedy Trial Act 18 U.S.C.
27
     § 3161(h)(7)(B)(iv) and Local Code T4 (reasonable time to
28

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 1   prepare).   Dan Koukol has authorized Assistant U.S. Attorney Todd
 2   D. Leras to sign this stipulation on his behalf.
 3   Dated: March 9, 2012
 4                                           Todd D. Leras
                                            TODD D. LERAS
 5                                          Assistant U.S. Attorney
 6
 7   Dated: March 9, 2012
 8                                           /s/ Todd D. Leras for
                                            DANIEL FRANK KOUKOL
 9                                          Attorney for Defendant
                                            Taneka Nunley
10
11
12        IT IS HEREBY ORDERED:
13        1.     The status conference scheduled for March 13, 2012 is
14   vacated.
15        2.     A new status conference date is set for March 27, 2012,
16   at 9:15 a.m.
17        3.     Based on the parties’ representations, the Court finds
18   that the ends of justice outweigh the best interest of the public
19   and Defendants in a speedy trial.      Accordingly, time under the
20   Speedy Trial Act shall be excluded through March 27, 2012.
21
22   Date: March 12, 2012
23
24
25
26
27
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